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                      Exhibit
                      Exhibit C
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                                                                                                             “
                                                    EFiled: Jul 14 2022 01:26PM EDT                        LA
                                                                                                            A
                                                    Transaction
                                                    Transaction IDID 67822085
                                                                     67822085
                                                    Case
                                                     Case No.
                                                          No. 2019-0226-JTL
                                                              2019-0226-JTL
       IN THE         COURT         OF CHANCERY          OF THE    STATE     OF DELAWARE


MOUNTAIN WEST SERIES OF                            )
LOCKTON COMPANIES, LCC                             )
(formerly known as DENVER SERIES                   )
OF LOCKTON COMPANIES, LLC)                         )
and LOCKTON PARTNERS, LLC,                         )
                                                   )
                      Plaintiffs,                  )
                                                   )
            V.                                     ) C.A. No. 2019-0226-JTL

ALLIANT INSURANCE                   SERVICES,      )
INC.,                                              )
                                                   )
                      Defendant.                   )

          ORDER DENYING IN PART AND GRANTING IN PART
    SECOND MOTION FOR CONTINUED CONFIDENTIAL TREATMENT

       1.           On March 22, 2019, Mountain West Series of Lockton Companies, LLC, and

Lockton Partners, LLC           (jointly, “Lockton”)      filed this action against Alliant Insurance

Services, Inc. (“Alliant”). Dkt. 1. Lockton filed suit after twenty-six members of Lockton’s

Denver office resigned en masse and joined Alliant. /d. 9 5-7.

       2.           Lockton moved for a preliminary injunction, and the parties filed briefs in

support of that motion. See Dkt. 215; Dkt. 227; Dkt. 240 (collectively, the “Injunction

Briefs). On June 20, 2019, the court issued a decision granting Lockton’s motion. See

Mountain         W. Series of Lockton   Co., LLC       v. Alliant Ins. Servs., Inc., 2019   WL   2536104

(Del. Ch. June 20, 2019). The court found it reasonably probable that Alliant induced top

business leaders from Lockton’s Denver office to breach their obligations to Lockton and

to recruit other Lockton employees to join Alliant. Id. at *3-18. The court found it was

reasonably likely that Alliant, through its counsel, had manufactured litigation positions
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regarding the restrictive covenants binding Lockton employees. Id. The court determined

that Alliant had waived attorney-client privilege on certain documents through “credibility-

impairing behavior.” Id. at *18 & n.6. On January 8, 2020, the parties reached a settlement,

and the action was dismissed with prejudice. Dkt. 273.

       3.     Non-party Arthur J. Gallagher & Co. (“Gallagher”) is currently suing Alliant

in multiple jurisdictions. Dkt. 297 4 5. On March 7, 2022, Gallagher filed a Notice of

Challenge to Confidential Treatment pursuant to Court of Chancery Rule 5.1(f). Dkt. 277.

In response to that notice, Alliant filed redacted versions of dozens of exhibits to the

Injunction Briefs. On May    20, 2022, Gallagher filed a second Notice of Challenge to

Confidential Treatment (the “Second Notice”), which challenges redactions in sixty-three

of those exhibits. See Dkt. 300 Ex. A. On June 6, 2022, Alliant filed a Motion for Continued

Confidential Treatment (the “Second Motion”). Dkt. 303. The Second Motion seeks to

preserve the confidential treatment of redactions in fifty-nine of the sixty-three exhibits.

See Dkt. 303 Ex. A.

       4.     The redactions in dispute fall into two categories: (1) business and financial

information relating to Alliant and its employees     (the “Business Redactions”)      and (2)

personal information of Alliant employees and their spouses, such as cell phone numbers

and email addresses (the “Personal Redactions”). Dkt. 303      6.

       5.     “The public’s right of access to judicial records has been characterized as

fundamental to a democratic state.” ADT Hldgs., Inc. v. Harris, 2017 WL 4317245, at *1

(Del. Ch. Sept. 28, 2017) (cleaned up). Court of Chancery Rule 5.1 reflects the court’s

commitment    to the principles of public access. Horres     v. Chick-fil-A,   Inc., 2013   WL


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1223605, at *2 (Del. Ch. Mar. 27, 2013). Rule 5.1 states, “[e]xcept as otherwise provided”

in the Rule, “proceedings in a civil action are a matter of public record.” Ct. Ch. R. 5.1(a).

This language makes clear that most information presented to the court should be available

to the public. Sequoia Presidential Yacht Gp., LLC. v. FE P’rs LLC, 2013 WL 3724946, at

*2 (Del. Ch. July 15, 2013).

         6.      As the party seeking to maintain confidential treatment Alliant “bears the

burden of establishing good cause for Confidential Treatment.” Ct. Ch. R. 5.1(b)(3). Under

Rule    5.1(b)(2)   “good    cause”     exists     “only      if the   public     interest   in access       to Court

proceedings      is outweighed by the harm that public disclosure of sensitive, non-public

information would cause.” Ct. Ch. R. 5.1(b)(2). As examples of categories of information

that may      qualify    for confidential        treatment,     Rule     5.1(b)(2)     identifies   “trade    secrets;

sensitive proprietary information; sensitive financial, business, or personnel information;

sensitive     personal    information     such      as   medical       records;      and   personally    identifying

information such as social security numbers, financial account numbers, and the names of

minor children.” 7d.

         7.       “Denial of access to litigation material must be approached from the premise

that court restraint should not be imposed unless strong justification exists for such action.”

Ramada Inns, Inc. v. Drinkhall, 490 A.2d 593, 598 (Del. Super. 1985). “Those who decide

to litigate in a public forum (rather than pursue a private dispute-resolution procedure) must

do so in a manner consistent with the right of the public to follow and monitor the

proceedings and result of their dispute.” 4! Jazeera Am., LLC v. AT&T Servs., Inc., 2013

WL     5614284, at *7 (Del. Ch. Oct. 14, 2013); see Manhattan Telecomms., Corp. v. Granite


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Telecomms.,      LLC,      2020   WL     6799122,      at *2-3     (Del.    Ch. Nov.     19, 2020)   (discussing

powerful presumption of public access).

        8.        When determining whether to support or maintain a restriction on access, a

Delaware court balances “the magnitude and imminence of harm to the litigants” with “the

interests of the government and public in disclosure. ”” Ramada Inns, 490 A.2d at 599. Even

if restraint is justified, “[it] should be so restricted to impose no greater restraint than is

necessary to afford the [rule's] protection.” Id.

        9.        The party seeking confidential treatment must make a specific showing of

harm. “[G]eneric statements of harm are insufficient to overcome the public right of access:

harm must be particularized to warrant continued confidentiality.” /n re Boeing Co. Deriv.

Litig., 2021 WL 392851, at *2 (Del. Ch. Feb. 1, 2021) (cleaned up). The movant “must

point   to    specific     information     like     trade    secrets   or   competitively     sensitive   pricing

information that is not in the public mix and, if disclosed, will cause clearly identified

harm.” Id. (cleaned up). A party must do more than identify “mere potential for collateral

economic consequences.” Manhattan Telecomms., 2020 WL 6799122, at *3 (cleaned up).

It is not enough that the information “could have unfavorable economic or reputational

consequences,       such     as weakened          negotiating position       or public     embarrassment.”     A/

Jazeera, 2013 WL 5614284, at *7; see Paul v. Rockpoint Gp., LLC, 2021 WL 3262122, at

*2 (Del. Ch. July 29, 2021).

        10.       Once the party seeking confidential treatment has identified a specific harm,

the party must show that the specific harm is sufficiently grave to outweigh the public’s

interest in access. “The public interest is especially strong where the information is material


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to understanding the nature of the dispute.” In re Oxbow Carbon LLC, 2016 WL 7323443,

at *2 (Del. Ch. Dec.   15, 2016) (cleaned up); see Al Jazeera, 2013             WL   5614284,     at *7

(explaining that information bearing on the “core nature of the dispute” is of considerable

public interest). When information relates to the nature of the dispute or the individual

defendant’s   motivations,   denial    of public    access     to    material   requires    a   “strong

justification.” Oxbow Carbon, 2106 WL 7323443, at *3. The public interest is “paramount

when the information provided the basis for a judicial decision. ” Id. at *2 (cleaned up).

       11.    Alliant has    failed to establish good        cause   for maintaining       confidential

treatment of the Business Redactions. Those redactions concern historical information

about events from 2018 involving Alliant, its counsel, and the former Lockton employees.

At this point, the information is stale. At the same time, access to the information is critical

to understanding the decision in the Mountain West case, because it sheds light on Alliant’s

true motives and intent.

       12.     Alliant redacted many     of the exhibits in their entirety. Exhibits that “are

entirely blacked out” are “presumptively not in good faith compliance with Rule 5.1.” GKC

Strategic Value Master Fund, LP v. Baker Hughes Inc.,2019 WL 2592574, at *5 (Del. Ch.

June 25, 2019).

        13.    Alliant contends that the wholesale redactions are appropriate in part because

Alliant only produced the documents once “attorney-client privilege had been waived.”

Dkt. 303 q 17. According to Alliant, the “inherent importance of the confidentiality of

attorney-client communications” dictates that these communications nevertheless remain

confidential. Id. The court has previously rejected this same argument. See Oxbow Carbon,


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2016 WL 7323443, at *3 (rejecting continued confidentiality of privileged legal advice that

was already disclosed to adversarial parties); Ashton v. Fetch, C.A No. 2018-0743-KSJM,

at 37-38 (Del Ch. June 26, 2019) (TRANSCRIPT) (rejecting the argument that documents

produced     after a waiver     of attorney-client   privilege   should   be kept   confidential   as

“baseless”). Once privilege was waived, the documents became indistinguishable from any

other documents. The exhibits were part of the record presented to the court, and the court

relied on them in reaching its decision.

       14.      Alliant next argues that the Business Redactions are necessary to protect (1)

sensitive compensation information and (ii) the positions Alliant took during negotiations

over employment terms. Dkt. 303 9 12-17. According to Alliant, a competitor in theory

could use this information to harm Alliant. /d. { 13-16.

                a.        Alliant’s claim of harm is generic and speculative. Therefore, it is

unpersuasive.        See Manhattan   Telecomms.,     2020   WL   6799122,    at *3. A   speculative

suggestion of competitive harm “does not overcome the public’s presumptive right of

access to the materials submitted.” Rockpoint Gp., 2021 WL            3262122, at *2; see Boeing,

2021 WL      392851, at *4 (rejecting the speculative argument that “competitors could use

internal [company] information to harm [the company] in competition”).

                b.        Equally important, the information in the Business Redactions is stale,

and stale information is not entitled to protection. Baker v. Sadig, 2016 WL 4988427, at *2

(Del. Ch. June 8, 2016). The Business Redactions concern Alliant’s hiring raid in 2018,

some four years ago. While the passage of that amount of time alone is generally sufficient

to render documents stale, in this instance the world has changed profoundly in the interim.


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In 2018, some two years before the COVID-19 pandemic, the world was a different place.

This court has declined to grant protection to similar documents of comparable vintage.

See   BCIM    Strategic Value Master Fund, LP, v. HFF, Inc., C.A No. 2019-0558-JTL, 9 4-

7 (Del. Ch. July 9, 2021) (holding three-year-old documents that addressed transaction-

related bonuses       as not entitled to continued    confidential treatment because they were

“issue-specific” and “stale” due to age and changed market conditions); ADT Hldgs., 2017

WL 4317245, at *2 (remarking that agreement terms that were more than four years old

did not qualify for continued confidential treatment).

                 C.      In addition to not identifying any specific harm, Alliant has failed to

point to a type of harm that would outweigh the public right of access. The Business

Redactions     concern matters at the core of the rationale for the court determining that

Alliant’s conduct was reasonably likely to be wrongful. Many of the Business Redactions

address terms that Alliant sought to use to induce employees to leave Lockton. Alliant has

no right to shield tortious strategies from public review. The Business Redactions shed

light on Alliant’s motive and intent and are important to the public’s ability to understand

the nature of the dispute and the court’s decision. See Al Jazeera, 2013 WL 5614284, at

*6, Boeing, 2021 WL 392851, at *3—4.

        15.     Inresponse, Alliant cites a series of inapposite cases. Alliant relies on Cantor

Fitzgerald, Inc. v. Cantor, 2001 WL 422633 (Del. Ch. Apr. 17, 2001), for the proposition

that non-public       financial information is entitled to confidential treatment. The   Cantor

Fitzgerald decision indeed contains a statement to that effect, but it pre-dated the court’s

adoption of Rule 5.1 in 2013. That rule reflects the court’s renewed commitment to public


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access and sought to make clear that the court only would grant confidential treatment for

truly sensitive information when a threat of specific harm outweighed the public’s right.

See Al Jazeera, 2013 WL      5614284, at *3 (explaining that under the prior rule, “too much

information was being deemed confidential”).

       16.    Alliant    similarly   relies   on   Hewlett   v.   Hewlett-Packard    Co.,   2002    WL

32151538 (Del. Ch. Apr. 16, 2002), for generally the proposition that compensation plans

should be afforded confidential treatment.           Hewlett is a pre-Rule     5.1   discovery     order

governing the production and use of confidential information, analogous to what the court

now would enter as a confidentiality stipulation. It contains no analysis of whether specific

documents    filed with the Court should be afforded continued confidential treatment.

Rather, the order includes a procedure for challenging the designations of any purportedly

confidential documents. /d. at *6. It provides no reason to believe that compensation plans

(or terms of compensation) generally qualify for protection under Rule 5.1.

       17.    Alliant also cites In re Trust for Gore, 2011 WL            13175994 (Del. Ch. Dec.

22, 2011), another decision that pre-dated the court’s adoption of Rule 5.1. It is also

distinguishable in its own right.

               a.       The Gore decision involved a trust that indirectly held shares of stock

of W.L. Gore & Associates, Inc., a successful private company. During the trial, a witness

inadvertently gave testimony about the approximate value of the stock held by the Trust,

along with information sufficient to calculate a value for Gore as a whole. The trustees

promptly moved to seal the record,            and the court granted their request. A newspaper

reporter subsequently sought to obtain the information. Writing before the revisions to Rule


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5.1, the court stated that “[nJonpublic estimates of value of a privately held company are

generally      entitled to confidential treatment.” Id. at *2. The               court did not require any

showing of harm, nor did it conduct a balancing of interests. More recent precedent clearly

requires both inquiries. The court also held that knowledge of the value of Gore was not

important for the public’s understanding of the dispute. Jd.

                  b.       The court reached a different conclusion regarding information that

revealed the number of shares in a trust for beneficiaries versus the number of shares in the

trust for other beneficiaries. The court found that disclosure of this information would not

reveal a valuation of Gore and “would assist the public in understanding the dispute that

the Court has been called upon to resolve.” Id.

                  C.       Assuming    for purposes of analysis that Gore remains a persuasive

precedent,      the    information   at issue   in this    case     more      closely     resembles    the   share

information that the court made public, rather than the valuation information that the court

kept confidential. The Business             Redactions    would      not permit anyone to back into a

valuation of Alliant, and the information will assist the public in understanding the dispute

that the Court was called upon to resolve.

         18.      Finally, Alliant cites Stroud v. Grace, 606 A.2d 75 (Del. 1992), a decision

that also has nothing to do with the right of public access. The Stroud case acknowledged

that   under     certain   circumstances,     a board     can     condition     the     release   of confidential

information to stockholders upon their execution of a confidentiality agreement. Id. at 88—

89. Primarily citing decisions in books-and-records                  cases, the court acknowledged the

mundane        fact that a private     company     can    have      an   interest     in keeping      information


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confidential. /d. at 89. In a far more recent decision, the Delaware Supreme Court has made

clear that there is no presumption of confidentiality. Tiger v. Boast Apparel, Inc., 214 A.3d

933, 939 (Del. 2019). Even in a books-and-records action, a company must prove that a

confidentiality    restriction   is warranted.   Id.   The   Second    Motion    does   not   involve   a

production in a books-and-records action. It involves the public right of access. Addressing

the latter issue, Chief Justice Strine held while serving as a member of this court that the

public right of access would         override a confidentiality agreement that private parties

involved in a dispute over a private company sought to invoke as a basis to keep the record

confidential. Kronenberg v. Katz, 872 A.2d 568, 608 (Del. Ch. 2004). He rejected the

argument that the private parties could turn themselves into “secret citizens” who could

“litigate in the courts of public record behind a judicially enforced               screen.” Id. That

argument, he explained, confronted “an insuperable barrier” in the form of “the legal duty

of the tribunal to honor the legitimate interest of the public and the press in access to

judicial proceedings.” Id.

        19.       Much    of the Business   Redactions       detail Alliant’s   efforts to circumvent

restrictive covenants and provide poached employees with indemnification. These portions

of the documents         shed light on Alliant’s “credibility-impairing pattern of behavior.”

Mountain W., 2019 WL 2536104 at *18. The court relied on the information in rendering

its decision. Id. at *2—18. The information goes to “the very heart” of the case. Boeing,

2021 WL       392851, at *4. It may be embarrassing for Alliant to have the specifics of its

conduct brought to light. But embarrassment is not grounds for confidential treatment. See

Sequoia, 2013 WL 3724946, at *3.


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       20.       Alliant also devotes considerable effort to questioning Gallagher’s motives

for seeking access. In essence, Alliant seeks to dismiss Gallagher’s efforts on the grounds

that Gallagher is a business competitor and litigation opponent. Dkt. 303 § 7.

                  a.       As a rule, the identity of the “party challenging confidential treatment

is irrelevant to whether Rule 5.1 applies.” In re Lordstown Motors Corp. S holders Litig.,

2022 WL 601120, at *7 (Del. Ch. Feb. 28, 2022). Nothing “in our law obligates [the party]

to prove why he seeks access to information filed in a Delaware court, much less that his

purpose is somehow ‘proper.’ Manhattan Telecomms, 2020 WL 6799122, at *5. The fact

that a party may seek to use the documents in litigation is largely irrelevant. See GKC

Strategic, 2019 WL         2592574, at *1. Indeed, rather than calling into question the motives

of the party seeking the information, the existence of pending litigation can provide

evidence of public interest. See Al Jazeera, 2013 WL                    5614284, at *5; Boeing, 2021    WL

392851,      at *3.    Here,   Alliant   faces   at least   forty-one    lawsuits   in at least twenty-five

jurisdictions in which competitors have asserted similar claims. Dkt. 297 § 10-17. The

Business Redactions provide insight into Alliant’s modus operandi. See Dkt. 305                          18.

There is plainly a level of public interest in the misconduct in which Alliant engaged.

                  b.       As part of its effort to disparage Gallagher’s motives, Alliant argues

that Gallagher only seeks information belonging to Alliant and not information belonging

to Lockton. Dkt. 303 9 7. A party seeking information need not be interested in the case as

a whole. A party can be interested in aspects of the record. Moreover, in the Mountain West

decision, this court found that it was reasonably likely that Alliant engaged in tortious




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conduct, not Lockton. It is understandable that the public interest principally concerns what

Alliant did.

        21.      Alliant has thus failed to carry its burden for the Business Redactions.

        22.      By     contrast,    the     Second   Motion      provides     sufficient    basis     to maintain

confidential treatment for the Personal Redactions.

                 a.        Rule 5.1 acknowledges that protection is warranted for “personally

sensitive information        involving        [an individual’s]     personal    life, such as child custody

information,     social    security        numbers,   bank     account   numbers,      and     other    personally

identifying information.” Oxbow               Carbon, 2016 WL         7323443, at *4 (cleaned up). As a

general rule, the redaction of personal information does not “greatly disadvantage the

public’s ability to understand the nature of the dispute before this Court.” 4/ Jazeera, 2013

WL    5614284,        at *7. Gallagher acknowledges             these principals and does not seek the

disclosure of sensitive personal information. Dkt. 3059 5 & n.3.                                         |

                 b.        The Personal Redactions             satisfy the requirements         for confidential

treatment. They include personal email addresses, cell phone numbers, and the reasons why

an employee was on medical leave. The court did not rely on that specific information in

deciding the case.

        23.      Alliant    has     failed to establish      good    cause     to maintain      the    confidential

treatment of the Business Redactions. Within five days, Alliant will file unredacted copies

of the following exhibits, which will be available for public inspection: JX 1; JX 2; JX 3;

JX 4; JX 5: JX 6; TX 10; JX 12; JX 33; JX 34; JX 35; JX 42; JX 51; JX 52; JX 61; JX 66;

JX 76; 7X 78; JX 79; JX 85; JX 87; JX 88; JX 89; JX 90; JX 101; JX 102; JX 108; JX 109;


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JX 110; JX 112; JX 113; JX 114; JX 115; JX 116; JX 117; JX 118; JX 120; JX 124; JX

125; JX 128; JX 129; JX 130; JX 138; JX 156; JX 162; JX 164; JX 223; JX 224; JX 225.

          24.   Alliant has established good cause for maintaining the confidential treatment

of the Personal Redactions. The Second Motion is GRANTED              to following exhibits: JX

145; JX 309; JX 310; JX 311; JX 312; JX 315; JX 316; JX 317; JX 318.

          25.   JX 32 contains a mix     of Business Redactions       and Personal Redactions.

Within five days, Alliant will file a copy of JX 32 that removes the former but retains the

latter.




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